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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 20-60072-CR-DIMITROULEAS


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.

 VINH SANH NGUYEN,

             Defendant.
 ______________________________


                                 DETENTION ORDER


               Pursuant to 18 U.S.C. § 3142(f), on March 4, 2020, a hearing was held to

 determine whether Defendant, Vinh Sanh Nguyen should be detained prior to trial.

 Having considered the factors enumerated in 18 U.S.C. § 3142(g), this Court finds that

 no condition or combination of conditions will reasonably assure the appearance of this

 Defendant as required and/or the safety of any other person and the community.

 Therefore, it is hereby ordered that Defendant, Vinh Sanh Nguyen be detained prior

 to trial and until the conclusion thereof.

               In accordance with the provisions of 18 U.S.C. § 3142(i), the Court hereby

 makes the following findings of fact and statement of reasons for the detention:

               1. The Defendant is charged with possession and access with intent to

 view child pornography, in violation of 18 U.S.C. §§ 2256(2), 2252(a)(4)(B) and

 2252(b)(2).

 Therefore, the Defendant is charged with an offense involving a minor. 18 U.S.C. §

 3142(g)(1).

               2. The weight of the evidence against the Defendant is substantial.

 Government witnesses will testify that on September 24, 2019, the Defendant was

 arrested by the Plantation Police Department and charged with voyeurism. At the
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 time of his arrest, the Defendant was using his cellular phone to take videos of an

 unclothed female in a dressing room. The Defendant’s phone was seized and a search

 warrant obtained for its contents.      Officers found on the phone sixteen videos

 containing child pornography involving female children from 5 to 15 years of age. Also

 on the phone were instructions on how to frighten young female victims online.

              Subsequently a Search Warrant was executed on the Defendant’s Google

 account, which revealed 13 image and video files containing child pornography

 involving infants and young children. Investigation revealed that the Defendant had

 conducted online searches for Nikolas Cruz and the Parkland school shooting,

 including crime scene photographs; directions to Harbordale Elementary School in Fort

 Lauderdale, Florida (to which the Defendant has no connection), and the location of

 gun ranges. 18 U.S.C. § 3142(g)(2).

              3. The pertinent history and characteristics of the Defendant are that he

 is 21 years old and a lifelong resident of South Florida. He is employed and also

 enrolled in Broward College. The Defendant resides with his father, stepmother, sister

 and minor brother. He has no prior convictions. The Defendant has a passport and

 has traveled to Viet Nam to visit his grandmother. He does not appear to be a risk of

 flight. 18 U.S.C. § 3142(g)(3)(A) and (B).

              4. There is probable cause to believe the Defendant possessed multiple

 images and videos of child pornography involving infants and female children aged 5-

 15, and was arrested while taking videos of an unclothed woman in a dressing room.

 Additionally, the Defendant researched crime scenes of the Parkland shooting,

 directions to an elementary school to which he had no connection, and the location of

 gun ranges. Accordingly, the Defendant constitutes a danger to the community. 18

 U.S.C. § 3142(g)(4).




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              5. The Court specifically finds that there are no conditions or combination

 of conditions which reasonably will assure the Defendant's appearance as required

 and/or the safety of any other person and the community. 18 U.S.C. § 3142(e).

              Based upon the above findings of fact, which were supported by clear and

 convincing evidence, the Court has concluded that this Defendant presents a danger

 to the community. The Court hereby directs:

                     (a) That the Defendant be committed to the custody of the Attorney

 General for confinement in a corrections facility separate, to the extent practical, from

 persons awaiting or serving sentences or being held in custody pending appeal;

                     (b) That the Defendant be afforded reasonable opportunity for

 private consultation with counsel; and

                     (c) That, on order of a court of the United States or on request of

 an attorney for the Government, the person in charge of the corrections facility in

 which the Defendant is confined deliver the Defendant to a United States Marshal for

 the purpose of an appearance in connection with a court proceeding.

              DONE AND ORDERED at Fort Lauderdale, Florida, this 13th day of

 March, 2020.




 Copies to:

 AUSA Catherine Koontz (FTL)
 AFPD Robert Berube (FTL)

 U.S. Probation Office (FTL)




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